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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case No.: 9:20-cv-81205-RAR

Securities & Exchange Commission,
Plaintiff,
V.

Complete Business Solutions
Group, Inc.,

Defendant.

CERTIFICATION OF CLIFFORD E. HAINES, ESQ.

Clifford E. Haines, Esq., pursuant to Rule 4(b) of the Rules Governing the Admission,
Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the
Local Rules of the United States District Court for the Southern District of Florida; (2) 1 ama
member in good standing of The Pennsylvania Bar, The Philadelphia Bar, and the United States
District Court for the Eastern District of Pennsylvania; and (3) I have not filed three or more

motions for pro hac vice admission in this District within the last 365 days.

Cbfe.. DED
Hd hs f. CL LAS

) Clifford E/Haines
